                   UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                         CASE NO. 3:09CR203-RJC-DCK


UNITED STATES OF AMERICA,              )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )        ORDER GRANTING ADMISSION
                                       )              PRO HAC VICE
KEITH KRASZEWSKI,                      )
                                       )
      Defendant                        )


      THIS MATTER IS BEFORE THE COURT on the “Verified Motion Of Jerome Billy

Ullman For Appearance Pro Hac Vice” (Document No. 12) filed November 2, 2009.

      For good cause shown, the Motion is hereby GRANTED.

      SO ORDERED.




                                           Signed: November 3, 2009




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